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                         UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                              100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt          POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
        Clerk                    CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                  Filed: July 18, 2022




     Mr. Timothy S. Bishop                               Ms. Sarissa Klein Montague
     Mr. Philip A. Erickson                              Mr. William James Murphy
     Ms. Kinikia D. Essix                                Mr. Minh Nguyen-Dang
     Mr. Gerald K. Evelyn                                Mr. Charles Robert Quigg
     Mr. Gaetan E. Gerville-Reache                       Mr. Michael A. Rataj
     Ms. Stephanie Franxman Kessler                      Mr. Bryan M. Reines
     Mr. Brian P. Lennon                                 Mr. Alexander Stephen Rusek
     Mr. Anastase Markou                                 Mr. Corey M. Stern
     Mr. Juan A. Mateo Jr.                               Mr. William W. Swor
     Mr. T. Santino Mateo                                Mr. Sherman Vance Wittie

  Re: Case No. 22-1353/22-1355/22-1357/22-1358/22-1360, Leanne Walters, et al v. Richard Snyder, et al
      Originating Case No. : 5:17-cv-10164

 Dear Counsel:

   The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/Amy E. Gigliotti
                                                Case Management Specialist
                                                Direct Dial No. 513-564-7012




 Enclosure
           Case: 22-1353 Document:
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                                                       Filed 07/18/22

                          Case No. 22-1353/22-1355/22-1357/22-1358/22-1360

                                  UNITED STATES COURT OF APPEALS
                                       FOR THE SIXTH CIRCUIT

                                              ORDER

 In re: FLINT WATER CASES

 ------------------------------

 LEE-ANNE WALTERS, et al

                Plaintiffs
 and

 E.S., A.T., R.V., D.W.

                Plaintiffs - Appellees
 v.

 RICHARD DALE SNYDER [22-1353]
 DARNELL EARLEY [22-1353]
 RICHARD BAIRD [22-1357]
 HOWARD D. CROFT [22-1358]
 GERALD AMBROSE [22-1360]

                Defendants - Appellants

 VEOLIA NORTH AMERICA, LLC; VEOLIA NORTH AMERICA, INC.; VEOLIA WATER
 NORTH AMERICA OPERATING SERVICES, LLC; LOCKWOOD, ANDREWS &
 NEWMAN, P.C.; LOCKWOOD, ANDREWS & NEWMAN, INC.; LEO A. DALY COMPANY

                Defendants – Appellees



      The court having determined that consolidation of the above causes for the purpose of

 submission is appropriate,

      It is ORDERED that the causes be and they hereby are consolidated for the purpose stated

 above.

                                                   ENTERED BY ORDER OF THE COURT
                                                   Deborah S. Hunt, Clerk


 Issued: July 18, 2022
                                                   ___________________________________
